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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff/Respondent,         )
      v.                                  )                          Case No. 08-4116-JAR
                                          )                                   02-40098-01-JAR
                                          )
CORDELL NICHOLS,                          )
                                          )
            Defendant/Petitioner.         )
__________________________________________)

                                                   ORDER

        Before the Court is petitioner Cordell Nichols’ “Motion in Arrest of Judgment/Motion to

Alter or Amend Judgment” (Doc. 406). Petitioner filed a Notice of Appeal of the Court’s order

denying his motion to vacate pursuant to 28 U.S.C. § 2255, which the Tenth Circuit Court of

Appeals abated pending a decision on Nichols’ motion for reconsideration (Doc. 395). The

Court disposed of Nichols’ motion on March 1, 2011 (Doc. 403), and the Tenth Circuit entered

an Order stating that Nichols’ notice of appeal is now effective and the abatement is lifted, and

directing Nichols to file his combined opening brief and request for certificate of appealability

(Doc. 404). “The filing of a notice of appeal is an event of jurisdictional significance—it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.”1 Accordingly, this Court lacks jurisdiction to entertain the

instant motion.

        IT IS THEREFORE ORDERED BY THE COURT that petitioner’s Motion in Arrest


        1
         Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 59 (1982) (per curiam); see also United States
v. Meyers, 95 F.3d 1475, 1489 n.6 (10th Cir. 1996).
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of Judgment/Motion to Alter or Amend Judgment (Doc. 406) is dismissed without prejudice for

lack of jurisdiction.

        IT IS SO ORDERED.

Dated: March 16, 2011
                                                  S/ Julie A. Robinson
                                                 JULIE A. ROBINSON
                                                 UNITED STATES DISTRICT JUDGE




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